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 5   IMESH PERERA
 6
 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                       )      Case No. 2:10-cr-00347-MCE-2
                                                     )
11                  Plaintiff,                       )
            vs.                                      )
12                                                   )      STIPULATION AND ORDER TO
     IMESH PERERA, et al.                            )      CONTINUE STATUS CONFERENCE
13                                                   )
                                                     )      Court: Hon. Morrison C. England
14                  Defendant.                       )      Time: 9:00 a.m.
                                                     )      Date: April 3, 2014
15                                                   )

16          Defendant Imesh Perera, by and through his undersigned counsel and the United States

17   Government, by and through Assistant United States Attorney Jill Thomas, hereby agree and
18   stipulate that the status conference currently scheduled for April 3, 2014 be continued until May
19
     22, 2014. The defendant is charged in a five count indictment alleging violations of 21 U.S.C.
20
     §§s 841 (a) (1) and § 846 – possession with intent to distribute and conspiracy to distribute
21
     methamphetamine. The government has previously provided a Plea Agreement to the defendant.
22
23   It includes a factual basis stretching over a period of more than one year and involving numerous

24   intercepted telephone conversations. The defense has requested the government provide some

25   additional information clarifying relevant aspects as to some of the incidents mentioned in the
26   factual basis. The government has provided this information and the defense needs additional
27
     time to review the materials. Just recently the government has agreed to entertain another
28
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 1   proposal from the defendants and needs more time to evaluate and respond to the new proposal.
 2   The parties therefore agree that additional time is needed to finalize the terms of a plea
 3
     agreement. Therefore, the parties request a status conference date of May 22, 2014 and that date
 4
     is available with the Court.
 5
            The parties agree that time should be excluded under 18 U.S.C. § 3161 (h) (8) (i) for
 6
 7   defense preparation and under local code T4.

 8   Dated: March 21, 2014
                                                   Respectfully submitted,
 9                                                 LAW OFFICES OF MARK WAECKER
10                                                 ______/s/ Mark Waecker__________
11                                                 Mark Waecker, Esq.
                                                   Attorney for Defendant,
12                                                 IMESH PERERA

13   Dated: March 21, 2014
                                                   _______/s/ Jill Thomas____________
14                                                 Jill Thomas
15                                                 Assistant United States Attorney
                                                   Attorney for Plaintiff
16                                                 UNITED STATES OF AMERICA

17
                                                   ORDER
18
19          Good cause having been shown, it is hereby ordered that the status conference currently

20   scheduled for April 3, 2014, is continued to May 22, 2014 at 9:00 a.m. Based on the
21   representation of the parties, the Court finds that the ends of justice served by granting the
22
     continuance outweigh the best interest of the public and the defendant in a speedy trial. Time
23
     under the Speedy Trial Act shall be excluded under 18 U.S.C. § 3161(h)(7)(B)(4) and Local
24
     Code T-4 up to and including May 22, 2014.
25

26          IT IS SO ORDERED.
     Dated: March 25, 2014
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28
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